                                                         Case 2:18-cr-00129-JCM-DJA
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                                                     1   LISA A. RASMUSSEN, ESQ.
                                                         Nevada Bar No. 007491
                                                     2   THE LAW OFFICES OF KRISTINA
                                                     3   WILDEVELD & ASSOCIATES
                                                         550 E. Charleston Blvd
                                                     4   Las Vegas, NV 89104
                                                     5   Tel. (702) 222-0007
                                                         Fax. (702) 222-0001
                                                     6
                                                         Email: Lisa@VeldLaw.com
                                                     7
                                                         Attorneys for Benjamin Cottman
                                                    8
                                                     9                            UNITED STATES DISTRICT COURT
                                                    10
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                                                           DISTRICT OF NEVADA
                                                    11
                                                    12    UNITED STATES OF AMERICA,
                                                                                                           Case No. 2:18-CR-0129 JCM-DJA
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




                                                    13
               PH: (702) 222-0007




                                                                                      Appellant,
                                                    14
                                                    15           vs.                                       STIPULATION TO CONTINUE
                                                                                                           SENTENCING HEARING DATE, TO
                                                    16                                                     SET A BRIEFING SCHEDULE FOR
                                                          BENJAMIN COTTMAN,
                                                    17                                                     SENTENCING
                                                                                      Appellee.            AND ORDER
                                                    18
                                                    19
                                                                       COME NOW the parties, Benjamin Cottman, by and through his counsel,
                                                    20
                                                         Lisa Rasmussen, and the United States, by and through its counsel, AUSA Allison
                                                    21
                                                         Reese, and hereby stipulate that the sentencing hearing, presently scheduled for
                                                    22
                                                         October 2, 2020 be continued to any date after October 30, 2020. The basis for this
                                                    23
                                                         Stipulation is as follows:
                                                    24
                                                                1.      The issues to be briefed for Mr. Cottman’s sentencing are substantial and
                                                    25
                                                         relate to issues of law that are potentially the source of later appellate briefing
                                                    26
                                                         depending on this court’s determination of sentencing. Specifically, the court must
                                                    27
                                                         determine whether certain offenses are crimes of violence which in turn impacts Mr.
                                                    28
                                                         Cottman’s criminal history score and advisory guideline range.


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                                                     1         2.     Ordinarily, defense counsel would file its Sentencing Memorandum one
                                                     2   week prior to the sentencing, which would in turn leave the government only two
                                                     3   days to respond.
                                                     4         3.     The parties have agreed that due to the substantial briefing to be
                                                     5   completed that it would be best if they have more time to submit the filings. In
                                                     6   particular, the government needs more time after Mr. Cottman’s filings and counsel
                                                     7   for Ms. Cottman needs more time to complete her work.
                                                    8          4.     Accordingly, Mr. Cottman proposes that he files his Sentencing
                                                     9   Documents and legal memoranda on or before October 9, 2020 and that the
                                                    10   government file its response on or before October 23, 2020.
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                    11         5.     Mr. Cottman is in custody and agrees to continuing his sentencing
                                                    12   hearing.
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




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                                                               6.     This is the third request to continue the sentencing hearing.
                                                    14         7.     This request is not made for the purpose of delay.
                                                    15         DATED: September 14, 2020.
                                                    16         Respectfully submitted,
                                                    17
                                                                                           THE LAW OFFICES OF KRISTINA
                                                    18                                     WILDEVELD & ASSOCIATES,
                                                    19
                                                    20                                              /s/ Lisa A. Rasmussen
                                                                                                    Lisa A. Rasmussen, Esq.
                                                    21
                                                                                                    Nevada Bar No. 7491
                                                    22                                              Attorneys for Benjamin Cottman

                                                    23
                                                    24                                     NICHOLAS TRUTANICH
                                                                                           UNITED STATES ATTORNEY, DISTRICT OF NEVADA
                                                    25
                                                    26
                                                                                                  __/s/ Allison Reese______________________
                                                    27                                            By: AUSA Allison Reese
                                                    28                                            Counsel for the United States



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                                                                                 UNITED STATES DISTRICT COURT
                                                     2
                                                     3                                  DISTRICT OF NEVADA

                                                     4
                                                          UNITED STATES OF AMERICA,
                                                     5                                                  Case No. 2:18-CR-0129 JCM-DJA

                                                     6                            Appellant,

                                                     7
                                                                  vs.
                                                    8
                                                          BENJAMIN COTTMAN,                                          ORDER
                                                     9
                                                    10                            Appellee.
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                    11
                                                    12
                                                                 Based upon the stipulation of the parties and good cause appearing,
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




                                                    13
               PH: (702) 222-0007




                                                                 IT IS HEREBY ORDERED that the sentencing hearing presently scheduled for
                                                    14
                                                                                                             20th
                                                         October 2, 2020 shall be vacated and reset to the __________ day of
                                                    15
                                                          November
                                                         __________________,         10:30 a.m.
                                                                             2020 at _______
                                                    16
                                                                 IT IS FURTHER ORDERED that defense counsel shall file its Sentencing
                                                    17
                                                         Memorandum and any legal Memoranda applicable thereto on or before October 9,
                                                    18
                                                         2020.
                                                    19
                                                                 IT IS FURTHER ORDERED that the government shall file its Response and/or
                                                    20
                                                         its Sentencing Memorandum on or before October 23, 2020.
                                                    21
                                                    22                  September 18, 2020
                                                                 Dated: ___________________
                                                    23
                                                                                                  ________________________________________
                                                    24                                            The Honorable James C. Mahan
                                                    25                                            United States District Judge

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                                                    27
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